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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

LESLIE RANKINS,                                    CASE NO. 8:18-cv-01483-GJH

                Plaintiff,                         Judge: Hon. George J. Hazel
vs.

WELLS FARGO BANK, N.A.

                Defendant.



  ORDER GRANTING JOINT STIPUALTION TO ARBITRATE CLAIMS AND STAY
                             ACTION

       Pursuant to the Stipulation to Arbitrate Claims and Stay Action between Plaintiff Leslie

5DQNLQV ³3ODLQWLII´ DQG Defendant Wells Fargo Bank, N.A. ³:HOOV )DUJR´ (Plaintiff and

:HOOV )DUJR VKDOO FROOHFWLYHO\ EH UHIHUUHG WR DV WKH ³3DUWLHV´ and GOOD CAUSE

APPEARING:

       IT IS HEREBY ORDERED that:

       1.       The proceedings in the above-captioned matter are stayed pending arbitration of

                this matter;

       2.       The arbitration shall be initiated by Plaintiff and conducted through the American

                $UELWUDWLRQ$VVRFLDWLRQ³$$$´DQG

       3.       Pursuant to the above-mentioned Stipulation to Arbitrate Claims and Stay Action,

                nothing in that stipulation will be construed to waive rights afforded to the Parties

                under the Federal Arbitration Act and/or the applicable state and federal laws.

IT IS SO ORDERED.


        September 7, 2018
DATED: ______________                                             /S/
                                                      ________________________________
                                                      U.S. District Court Judge
                                                       George J. Hazel
